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       DEPARTMENT OF HEALTH & HUMAN SERVICES                                              Office of the Secretary


                                                                                         Washington, D.C. 20201




                                          March 31, 2025

MEMORANDUM FOR: ANTHONY LANEY

VIA EMAIL:                 aol4@cdc.gov

FROM:                      Tom Nagy, Chief Human Capital Officer

SUBJECT:                   Specific Notice of Reduction in Force

In accordance with President Donald Trump’s Executive Order 14210, dated February 11, 2025,
and the Department of Health and Human Services’ (HHS) broader reorganization strategy to
improve its efficiency and effectiveness to make America healthier, HHS is executing a
Reduction in Force (RIF). This memorandum constitutes a specific notice of a RIF.

I regret to inform you that you are being affected by a RIF action. This RIF is necessary to
reshape the workforce of HHS.

This is your specific notice of the RIF. In accordance with the RIF procedures specified in
Chapter 35 of Title 5 of the United States Code and Title 5 of the Code of Federal Regulations,
Part 351, and HHS policy, you are being released from your competitive level based on your
retention standing. Consequently, you will be separated from the Federal service effective June
2, 2025. In the event you are qualified and have assignment rights to a position that becomes
available during the notice period, you will be informed via a specific, subsequent notice. Should
the circumstances of the RIF otherwise change, this notice may be withdrawn.

Retention Standing

To conduct the RIF, retention registers were prepared which list employees in retention standing
order by civil service tenure group and subgroup, veterans’ preference, performance ratings, and
length of Federal service. The following information was used to determine your retention
standing as of the RIF effective date:


Competitive Area:                  SURVEILLANCE BRANCH-NATIONAL INSTITUTE FOR OCCUPATIONAL SAFETY & HEALTH




Competitive Level:                 REP1

Tenure Group & Subgroup:           1

Veterans’ Preference:              N




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Most Recent Performance Ratings:                               5,5,5

Additional Years of Credit Based on Performance Ratings:       20

Reduction In Force Service Computation Date (SCD):             2006-02-28 00:00:00

Adjusted RIF Service Computation Date (SCD):                   1986-02-28 00:00:00

The adjusted RIF SCD includes all creditable military and civilian service and is adjusted with
additional credit (up to a maximum of 20 years) for the performance ratings.

NOTE: All employees in your competitive area will be separated.

You have been reached for release from your competitive level in accordance with RIF
regulations and procedures. You have no assignment rights to positions within your competitive
area. Therefore, you will be separated from HHS at the close of business on June 2, 2025.

Based on a preliminary evaluation, you are       eligible for severance pay pursuant to 5 U.S.C.
§ 5595.

If you are a competitive service employee, or a covered excepted service employee under HHS
Instruction 330-2, you are eligible to have your name placed on the Reemployment Priority List
and to participate in the Interagency Career Transition Assistance Plan (ICTAP). You are also
eligible to participate in the HHS Career Transition Assistance Program. However, if you resign
or retire before your separation under reduction in force, you will no longer be eligible for
special selection priority under this program and you may lose eligibility for special selection
priority through the Reemployment Priority List (RPL) and the ICTAP. Information and
registration procedures for the RPL are included in the attachments to this notice.

Please contact your supervisor or email OHR-General-Inquiries@hhs.gov immediately if you
believe any of the above information is incorrect.

RIF Package

Each employee impacted by the RIF has been sent documents that outline applicable benefits for
which you may be eligible or entitled as appropriate. You may make an appointment with the
Office of Human Resources (OHR) to obtain paper copies of the documents. You may make an
appointment by contacting OHR-General-Inquiries@hhs.gov. In addition, the websites to certain
relevant external benefits provided by other entities are found immediately below.

For training benefits under the Workforce Improvement Act of 1998, please see
www.careeronestop.org.
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For unemployment compensation benefits, please refer to the Department of Labor website at
www.dol.gov.

For general information on transition assistance, please refer to the Office of Personnel
Management website at www.opm.gov.

Appeal and Grievance Rights

U.S. Merit Systems Protection Board (MSPB)
If you believe your retention rights have not been applied correctly or have been violated, you
may appeal this action to the MSPB. You may file your appeal with the MSPB’s regional or field
office serving the area where your duty station was located. The address of your regional or field
office has been included in your RIF package.

For a complete listing of MSPB regional and field offices, see Appendix II of Part 1201 of the
Board’s regulations. Your appeal must be in writing and may be filed any time after receipt of
this notice until no later than 30 calendar days after the effective date. Failure to file an appeal
within the time limit may result in dismissal of the appeal as untimely filed. More information on
filing appeals is included in your RIF package. You may also access the MSPB website at
www.mspb.gov for additional and further detailed information on the appeal process.

Equal Employment Opportunity (EEO)
If you believe this personnel action is based in whole or in part on discrimination based on your
race, color, religion, sex, national origin, age or disability, or in retaliation for prior protected
activity you may file an EEO complaint with your designated HHS EEO representative:
            Reginald R. Mebane, Director

            RMebane@cdc.gov

            (770) 488-3210
You must contact your EEO representative no later than 45 calendar days of the effective date of
your separation from Federal service. Alternatively, you may file an appeal with the MSPB as
noted above and raise discrimination as an affirmative defense. However, you may not proceed
through both forums; you must elect one or the other. You may access the U.S. Equal
Employment Opportunity Commission (EEOC) website at www.eeoc.gov for additional and
further detailed information on the Federal sector EEO process.

Office of Special Counsel
You may also seek corrective action before the U.S. Office of Special Counsel (OSC). Visit the
OSC e-filing system web site at www.osc.gov, to access the online application. However, if you
do so, you will be limited to whether the agency took one or more covered personnel actions
against you in retaliation for making protected whistleblowing disclosures. If you choose to file
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an action with OSC, you will be foregoing your right to file an MSPB appeal regarding this
personnel action.

Conclusion

This action is being taken in accordance with the applicable civil service RIF regulations.
Included in your RIF package is a copy of the Office of Personnel Management (OPM) RIF
regulations, 5 C.F.R., Part 351. Further detailed information about the RIF regulations may also
be accessed on the OPM website. You may make an appointment to review and obtain a copy of
the RIF regulations and/or records pertaining to you by contacting OHR-General-
Inquiries@hhs.gov.

The Employee Assistance Program (EAP) is available free to you and in most cases your
immediate family. EAP counselors are available 24 hours a day, 365 days per year at 1-800-222-
0364 or www.FOH4YOU.com.

If you are eligible for severance pay following your separation, the attached worksheet will allow
you to calculate an estimate. Regardless, the following additional information is also available in
your RIF package:
    x Information on unemployment compensation under applicable State or District of
        Columbia programs.
    x Training benefits under the Workforce Investment Act of 1998 (WIA).
    x Request for authorization to release employment information to prospective employers.

Because you are being separated through a RIF action, you are eligible for career
transition and placement assistance. Specifically, you are eligible for the HHS
Reemployment Priority List (RPL), Career Transition Assistance Program (CTAP), and
Interagency Career Transition Assistance Program (ICTAP). Your RIF package includes
further information on these programs.

If you elect to resign before the effective date of the RIF, your separation will be
considered involuntary for severance pay purposes and you will still be eligible to receive
your severance pay. Please be advised that an early resignation may affect your eligibility
for placement assistance and your appeal rights. It may also impact your ability to qualify
for unemployment compensation and training benefits provided under WIA. You are
encouraged to contact your State’s Department of Labor and Employment for any
questions regarding unemployment compensation. You are also encouraged to contact
OHR-General-Inquiries@hhs.gov to determine how an early resignation may affect your
benefits.

This RIF action does not reflect directly on your service, performance, or conduct. It is being
taken solely for the reasons stated above, and because your duties have been identified as either
unnecessary or virtually identical to duties being performed elsewhere in the agency. Leadership
at HHS are appreciative of your service.
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Please return a signed copy of the Acknowledgement of Receipt and Authorization for
Release of Employment Information by email to OHR-General-Inquiries@hhs.gov within
14 days of receipt of this notice.

Attachments (9)
1. Acknowledgement of Receipt
2. MSPB Appeal Information
3. OPM Retention Regulations
4. Severance Pay Worksheet
5. Unemployment Insurance and State Workforce Agencies
6. Authorization for Release of Employment Information
7. CTAP, ICTAP and Reemployment Priority List (RPL) Program Information
8. Reference Guide to Benefits during RIF
9. List of MSPB Regional and Field Offices
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